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                             United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

  UNITED STATES OF AMERICA                        §
                                                  §   Case Number: 4:98-CR-47
  v.                                              §   Judge Mazzant
                                                  §
  JOSE MEZA                                       §

                              MEMORANDUM OPINION & ORDER

          Pending before the Court is Defendant Jose Meza’s Request for Compassionate Release/

   Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(A) “Extraordinary and Compelling

   Reasons” (Dkt. #1352). The Court, having considered the motion, the response, the record, and

   the applicable law, finds that the motion must be DENIED.

                                            I. BACKGROUND

          Following a trial, Defendant Jose Meza (“Meza”) was convicted of drug charges, including

   Conspiracy to Distribute Heroin and Cocaine in violation of 21 U.S.C. § 846, Possession with

   Intent to Distribute Heroin and Cocaine in violation of 21 U.S.C § 841(a)(1), and Distribution of

   Heroin in violation of 21 U.S.C § 841(a)(1). On December 9, 1999, Meza was sentenced to 360

   months’ imprisonment. Meza is serving his sentence at Cumberland FCI, Cumberland, Maryland.

   See https://www.bop.gov/inmateloc/ (Register Number: 07094-078). The Bureau of Prisons

   (“BOP”) projects Meza will be released on October 21, 2026. Id.

          On July 29, 2020, Meza requested to be placed on home confinement, arguing his high

   blood pressure, diabetes, high cholesterol, and severe obesity place him at risk of contracting the

   COVID-19 virus and suffering adverse consequences (Dkt. #1352). This Court denied Meza’s

   motion on December 3, 2020 (Dkt. #1361). Meza appealed that decision (Dkt. #1367). The Fifth
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   Circuit granted a limited remand to this Court for review of Meza’s motion under the legal

   standards articulated in Shkambi (Dkt. #1386).

          On July 28, 2021 the Government filed supplemental briefing in opposition to Meza’s

   motion Shkambi (Dkt. #1388).        Meza responded on August 12, 2021, asserting he has

   demonstrated “extraordinary and compelling reasons” (Dkt. #1392 at p. 10).

                                          II. LEGAL STANDARD

          A judgment of conviction imposing a sentence of imprisonment “constitutes a final

   judgment and may not be modified by a district court except in limited circumstances.” Dillon v.

   United States, 560 U.S. 817, 824 (2010) (quoting 18 U.S.C. § 3582(b)); see also 18 U.S.C.

   § 3582(c). One such circumstance arises from 18 U.S.C. § 3582(c)(1)(A), the statute authorizing

   compassionate release. Under § 3582(c)(1)(A), a district court may grant a sentence reduction if

   it finds: (1) a defendant “fully exhausted all administrative rights”; (2) “extraordinary and

   compelling reasons warrant such a reduction”; (3) “such a reduction is consistent with applicable

   policy statements issued by the Sentencing Commission”; and (4) such a reduction is appropriate

   “after considering the factors set forth in § 3553(a) to the extent that they are

   applicable.” 18 U.S.C. § 3582(c)(1)(A).

          The First Step Act of 2018 made the first major changes to compassionate release since its

   authorization in 1984. Pub. L. 115-391, 132 Stat. 5194. Procedurally, the First Step Act removed

   the Director of the BOP as the sole arbiter of compassionate release. Instead, the law enabled a

   defendant to move for compassionate release directly in district court after exhausting their

   administrative rights. 18 U.S.C. § 3582(c)(1)(A). Prior to this change, the BOP retained sole

   gatekeeping authority over compassionate release petitions. United States v. Brooker, 976 F.3d




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   228, 232 (2d Cir. 2020). This resulted in underuse and mismanagement.1 Id. Through the First

   Step Act, Congress sought to mitigate this by “increasing the use and transparency of

   compassionate release.” Pub. L. 115-391, 132 Stat. 5194, 5239 (capitalization omitted).

            Substantively, the First Step Act also modified the “extraordinary and compelling reasons”

   determination. Congress never defined what constitutes “extraordinary and compelling,” but

   rather delegated this determination to the Sentencing Commission.2                                By the text of

   § 3582(c)(1)(A), any sentence reduction must be “consistent with applicable policy statements

   issued by the Sentencing Commission.” However, since passage of the First Step Act, the

   Sentencing Commission has not updated its guidelines on compassionate release.3 This has

   created significant disagreement across the country whether the pre-First Step Act policy statement

   is still “applicable,” and thus binding on district courts.

            The Fifth Circuit recently joined the Second, Fourth, Sixth, Seventh, and Tenth Circuits in

   concluding that § 1B1.13 is no longer binding on a district court. See Shkambi, 993 F.3d at 393

   (“The district court on remand is bound only by § 3582(c)(1)(A)(i) and, as always, the sentencing

   factors in § 3553(a). In reaching this conclusion, we align with every circuit court to have

   addressed the issue.”). Under this new framework, § 1B1.13 still binds district courts on motions

   made by the BOP, but for motions made directly by an inmate, district courts are free to consider


   1
     In 2013, a report from the Office of the Inspector General revealed that the BOP granted compassionate release to
   only an average of 24 incarcerated people per year. See U.S. Dep’t of Just. Office of the Inspector General, The Federal
   Bureau of Prisons’ Compassionate Release Program 1 (2013), https://www.oversight.gov/sites/default/files/oig-
   reports/e1306.pdf (last visited April 14, 2020). And of the 208 people whose release requests were approved by both
   a warden and a BOP Regional Director, 13% died awaiting a final decision by the BOP Director. Id.; see also
   Extraordinary and Compelling: A Re-Examination of the Justifications for Compassionate Release, 68 MD. L. REV.
   850, 868 (2009) (noting that, in the 1990s, 0.01 percent of inmates annually were granted compassionate release).
   2
     In 28 U.S.C. § 994(a)(2), Congress granted the Commission broad authority to promulgate “general policy statements
   regarding application of the guidelines or any other aspect of sentencing or sentence implementation that in the view
   of the Commission would further the purposes set forth in [18 U.S.C. § 3553(a)(2)].” And in 28 U.S.C. § 994(t),
   “Congress instructed the Commission to ‘describe what should be considered extraordinary and compelling reasons
   for sentence reduction, including the criteria to be applied and a list of specific examples.’” United States v. Garcia,
   655 F.3d 426, 435 (5th Cir. 2011) (quoting 28 U.S.C. § 994(t)).
   3
     The Sentencing Commission currently lacks a quorum to issue new guidelines.

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   any relevant fact in determining if “extraordinary and compelling reasons” exist. See Brooker,

   976 F.3d at 235–36 (because the First Step Act allows both inmates and the BOP to file

   compassionate-release motions under § 3582(c)(1)(A), § 1B1.13 now applies only when such

   motions are made by the BOP and is inapplicable when a compassionate-release motion is made

   by a defendant); United States v. McCoy, 981 F.3d 271, 282 (4th Cir. 2020) (“A sentence reduction

   brought about by motion of a defendant, rather than the BOP, is not a reduction ‘under this policy

   statement.’”); United States v. Gunn, 980 F.3d 1178, 1180 (7th Cir. 2020) (agreeing with Brooker

   and holding that there is no “applicable” policy statement for § 3582(c)(1)(A) motions after the

   First Step Act); United States v. Jones, 980 F.3d 1098, 1109 (6th Cir. 2020) (“Until the Sentencing

   Commission updates § 1B1.13 to reflect the First Step Act, district courts have full discretion in

   the interim to determine whether an ‘extraordinary and compelling’ reason justifies compassionate

   release”).

          Despite this newfound discretion, district courts are not without guidance in determining

   whether “extraordinary and compelling reasons” exist. First, Congress has explicitly limited that

   “[r]ehabilitation of the defendant alone shall not be considered an extraordinary and compelling

   reason.” 28 U.S.C. § 994(t) (emphasis added). Second, the Sentencing Commission’s policy

   statement and commentary is still persuasive. United States v. Logan, No. 97-CR-0099(3), 2021

   WL 1221481 (D. Minn., Apr. 1, 2021) (finding that § 1B1.13’s definition of “extraordinary and

   compelling” should be afforded “substantial deference . . . as such deference is consistent with the

   intent (even if not mandated by the letter) of § 3582(c)(1)(A)”). Application Note 1 of the policy

   statement provides that “extraordinary and compelling reasons” exist when: (1) a terminal illness

   or other medical condition “substantially diminishes the ability of the defendant to provide self-

   care within the environment of a correctional facility”; (2) a defendant, who is at least 65 years



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   old, “is experiencing a serious deterioration in physical or mental health because of the aging

   process” and “has served at least 10 years or 75 percent of his or her term of imprisonment”; and

   (3) a defendant has minor children without a caregiver or with an incapacitated spouse or partner

   who needs the defendant to be the caregiver. U.S.S.G. § 1B1.13, n.1(A)-(C). Lastly, BOP

   Program Statement 5050.50 (“PS 5050.50”), amended after passage of the First Step Act, describes

   the factors BOP considers grounds for compassionate release. See PS 5050.50 ¶¶ 3–6. These

   grounds are similar to the reasons identified by the Sentencing Commission, but also include a list

   of factors like rehabilitation and circumstances of the offense.4 Id.

            Building from this guidance, district courts across the country have identified additional

   situations where “extraordinary and compelling reasons” exist. First, while rehabilitation alone is

   not an “extraordinary and compelling” reason for a sentence reduction, it can be a significant factor

   warranting a sentence reduction when an inmate has an otherwise qualifying condition.5 See

   United States v. Rodriguez, 451 F.Supp.3d 392, 405 (E.D. Pa. 2020) (noting that the Sentencing

   Commission itself interpreted § 3582(c)(1)(A) as allowing consideration of an inmate’s

   rehabilitation). If an inmate demonstrates a long, comprehensive record of rehabilitation, it goes

   to whether injustice would result if they remain incarcerated. See Brooker, 976 F.3d at 238

   (identifying “the injustice of [a] lengthy sentence” as a factor that may weigh in favor of a sentence

   reduction). Second, courts consider any changes in law and the sentencing guidelines when

   determining if a sentence is extraordinary. For example, courts grant compassionate release at a



   4
     PS 5050.50’s nonexclusive factors are: “the defendant’s criminal and personal history, nature of his offense,
   disciplinary infractions, length of sentence and amount of time served, current age and age at the time of offense and
   sentencing, release plans, and ‘[w]hether release would minimize the severity of the offense.’” United States v.
   Saldana, 807 F. App’x 816, 819 (10th Cir. 2020) (quoting PS 5050.50 ¶ 7).
   5
     18 U.S.C. § 3142(g) aids the Court in determining whether a defendant is a danger to the community. Applicable
   factors include: “the nature and circumstances of the offense,” “the person’s character, physical and mental condition,
   family ties, employment, . . . criminal history,” and “the nature and seriousness of the danger to any person or the
   community that would be posed by the person’s release.” 18 U.S.C. § 3142(g).

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   remarkable rate for inmates subject to the now abolished § 924(c) sentence-stacking. See McCoy,

   981 F.3d at 285 (“As the court observed in Bryant, multiple district courts have concluded that the

   severity of a § 924(c) sentence, combined with the enormous disparity between that sentence and

   the sentence a defendant would receive today, can constitute an ‘extraordinary and compelling’

   reason for relief under § 3582(c)(1)(A)”). Though Congress did not retroactively eliminate

   § 924(c) sentence-stacking, courts consider whether the outdated policy warrants relief on a

   case-by-case basis.6

            Even if extraordinary and compelling reasons exist, they must outweigh the 18 U.S.C.

   § 3553(a) factors to warrant sentence reduction. See 18 U.S.C. § 3582(c)(1)(A). These factors are:

            (1) the nature and circumstances of the offense and the history and characteristics
                of the defendant;

            (2) the need for the sentence imposed—

                     (A) to reflect the seriousness of the offense, to promote respect for the law,
                         and to provide just punishment for the offense;

                     (B) to afford adequate deterrence to criminal conduct;

                     (C) to protect the public from further crimes of the defendant; and

                     (D) to provide the defendant with needed educational or vocational training,
                     medical care, or other correctional treatment in the most effective manner;

            (3) the kinds of sentences available;

            (4) the kinds of sentence and sentencing range [provided for in the U.S.S.G.] . . .

            (5) any pertinent [Sentencing Commission] policy statement . . .

            (6) the need to avoid unwarranted sentence disparities among defendants with
                similar records who have been found guilty of similar conduct; and

            (7) the need to provide restitution to any victims of the offense.

   6
    See Shon Hopwood, Second Looks & Second Chances, 41 CARDOZO L. REV. 83, 123–24 (2019) (arguing Congress
   did not make § 924(c) sentence stacking retroactive because it did not want to make all inmates “categorically” eligible
   for sentencing relief, but Congress meant for relief from draconian sentences to apply “individually”).

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   Id. § 3553(a).

                                                      III. DISCUSSION

            Meza moves for compassionate release based on his underlying health concerns. Meza

   argues these medical conditions, coupled with the ongoing COVID-19 pandemic, warrant

   compassionate release. The Government argues Meza has not demonstrated “extraordinary and

   compelling reasons” which would qualify for compassionate release to home confinement.

            After re-evaluating Meza’s motion under the legal standards articulated in Shkambi, the

   Court still finds that Meza’s motion must be denied. Although Meza has met § 3582(c)(1)(A)’s

   exhaustion requirement, he has not met the statute’s requirement that “extraordinary and

   compelling reasons” exist warranting a reduction of his sentence.

   A. Meza Has Met Section 3582(c)(1)(A)’s Exhaustion Requirement.

            Meza’s compassionate release motion may only be considered if he first meets

   § 3582(c)(1)(A)’s exhaustion requirement.                Courts may not consider a modification to a

   defendant’s sentence under § 3582(c)(1)(A)(i) unless a motion for such a modification is properly

   made by the Director of the BOP or by a defendant who has fully exhausted their administrative

   remedies. 18 U.S.C. § 3582(c)(1)(A). Fully exhausting administrative remedies requires a denial

   by the warden of a defendant’s facility or waiting thirty days without receiving a response to a

   request, whichever is earlier.7 Id.

            Section 3582(c)(1)(A)’s exhaustion requirement is not waivable. See United States v.

   Rivas, 833 F. App’x 556, 558 (5th Cir. 2020) (“Because the statutory language is mandatory—that

   a prisoner must exhaust their BOP remedy before filing in district court—we must enforce this


   7
     BOP regulations define “warden” to include “the chief executive officer of . . . any federal penal or correctional
   institution or facility.” 28 C.F.R. § 500.1(a); United States v. Franco, 973 F.3d 465, 468 (5th Cir. 2020); c.f. United
   States v. Campagna, 16 Cr. 78-01 (LGS), 2020 WL 1489829, at *3 (S.D.N.Y. Mar. 27, 2020) (holding that “the denial
   of Defendant’s request by the Residential Re-entry Manager suffices to exhaust his administrative rights”).

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   procedural rule . . .”); United States v. Reeves, No. 18-00294, 2020 WL 1816496, at *2 (W.D. La.

   Apr. 9, 2020) (“While the Court is well aware of the effects the Covid-19

   pandemic . . . § 3582(c)(1)(A) does not provide this Court with the equitable authority to excuse

   Reeves’ failure to exhaust his administrative remedies or to waive the 30-day waiting period.”). If

   a defendant has not sought relief from the BOP, or has not waited thirty days since seeking relief,

   the Court may not consider their motion.

          On May 26, 2020, Meza asked the warden at Cumberland FCI to grant him compassionate

   release (Dkt. #1352 Exhibit 2). On July 20, 2020, the warden denied Meza’s request. (Dkt. #1352

   Exhibit 2). Meza has, therefore, met § 3582(c)(1)(A)’s exhaustion requirement.

   B. Meza Has Not Met Section 3582(c)(1)(A)’s Requirement that “Extraordinary and
      Compelling Reasons” Warrant a Sentence Reduction.

          Meza’s compassionate release motion turns on his assertion that the risks to his health

   associated with COVID-19—coupled with his hypertension, diabetes, high cholesterol, and severe

   obesity—constitute extraordinary and compelling reasons to reduce his sentence. Meza’s assertion

   fails because his conditions are not severe enough to constitute “extraordinary and compelling

   reasons” under § 3582(c)(1)(A)(i).

          The Court has discretion to decide whether Meza’s conditions present “extraordinary and

   compelling reasons” warranting a sentence reduction. See Shkambi, 993 F.3d at 392. The Court

   is not bound by the Sentencing Commission’s policy statement and may consider any relevant

   facts in evaluating Meza’s condition of incarceration. Id. Typically, courts consider whether a

   defendant suffers from a serious health condition, has a record of rehabilitation, the nature and

   circumstances of defendant’s offense, and whether a sentence is based on outdated law. See

   Brooker, 976 F.3d at 238.

          When considering if a defendant’s health condition supports compassionate release, the


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   mere existence of COVID-19 in society cannot independently justify a sentence reduction. See

   United States v. Miller, No. 2:17-CR-015-D, 2020 WL 2514887, *2 (N.D. Tex. May 15, 2020)

   (citing United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)). For a defendant to be granted

   compassionate release based on COVID-19, defendant must have a serious comorbidity and

   evidence the facility is not effectively controlling the spread of the virus. See United States v.

   Vasquez, No. CR 2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2, 2020) (“General

   concerns about the spread of COVID-19 or the mere fear of contracting an illness in prison are

   insufficient grounds to establish the extraordinary and compelling reasons necessary to reduce a

   sentence.”).

          In the instant case, Meza fails to show any health conditions that warrant compassionate

   release. Meza is not subject to a terminal illness. Meza’s conditions do not substantially diminish

   his ability to provide self-care in prison. Meza’s has comorbidities of COVID-19, but his health

   appears stable at this time. Further, hypertension, diabetes, and BMI are insufficient to constitute

   “extraordinary and compelling reasons” alone unless combined with other extenuating

   circumstances. See United States v. Manzano, No. 16-cr-20593, 2020 WL 7223301, at *3–4 (E.D.

   Mich. Dec. 8, 2020) (collecting cases and finding hypertension and diabetes were “extraordinary

   and compelling” when combined with defendant’s age and the lack of health protections

   implemented by her facility); see also United States v. Guyton, No. 11-271, 2020 WL 2128579, at

   *3 (E.D. La. May 5, 2020) (denying compassionate release for a 45-year-old with mild

   hypertension). Meza has not indicated that he has any physical restrictions, aside from those

   related to the successful management of his BMI, hypertension, and diabetes by medical

   professionals. His age of 43 also does not support compassionate release.




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          Absent COVID-19, Meza would present no basis for compassionate release because his

 medical ailments are appropriately managed and do not impede his ability to provide self-care in

 the institution. Further Cumberland FCI reports zero active cases among inmates and only two

 active    cases     among      staff.       FEDERAL       BUREAU       OF    PRISONS,      COVID-19         Cases,

 https://www.bop.gov/coronavirus/ (last visited October 19, 2021). Meza fails to present evidence

 demonstrating a serious risk to his health.

          Further, Meza’s records indicate he received both doses of the COVID-19 Pfizer-

 BioNTech vaccine in January of 2021 (Dkt. #1389 Exhibit 1). See United States v. Smith, 2021

 WL 364636, at *2 (E.D. Mich. Feb. 3, 2021) (“absent some shift in the scientific consensus,

 Defendant’s vaccination against COVID-19 precludes the argument that his susceptibility to the

 disease is ‘extraordinary and compelling’ for purposes of § 3582(c)(1)(A)”); United States v.

 Grummer, 2021 WL 568782, at *2 (S.D. Cal. Feb. 16, 2021) (denying compassionate release to

 defendant with several chronic medical conditions when defendant had been fully vaccinated);

 United States v. Wakefield, 2021 WL 640690, at *3 (W.D.N.C. Feb. 18, 2021) (finding defendant

 who presented obesity, diabetes, and hypertension, had previously tested positive, but had received

 the first dose could not meet his burden of establishing that his COVID-19 risk was an

 “extraordinary and compelling reason”).

          Weighing the evidence, Meza fails to prove that his incarceration is “extraordinary and

 compelling” under § 3582(c)(1)(A)(i) framework. See United States v. Stowe, No. CR H-11-

 803(2), 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25, 2019) (citation omitted) (stating that the

 defendant generally “has the burden to show circumstances meeting the test for compassionate

 release”).8


 8
  Given Defendant’s failure to meet § 3582(c)(1)(A)’s requirements, the Court need not address whether the applicable
 18 U.S.C. § 3553(a) factors support a sentence reduction.

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                                                      *        *        *

              Under the rule of finality, federal courts may not “modify a term of imprisonment once it

     has been imposed” unless one of a few “narrow exceptions” applies. Freeman v. United States,

     564 U.S. 522, 526 (2011) (citing 18 U.S.C. § 3582(c)) (plurality op.); see also Dillon, 560 U.S. at

     819 (same). Compassionate release is one of those exceptions, but a defendant must conform both

     to the procedural and substantive requirements of § 3582(c)(1)(A) for a court to modify a sentence.

     Because Meza has failed to meet the controlling requirements for compassionate release set forth

     in § 3582(c)(1)(A)(i), his Motion must be denied.9

                                                       IV. CONCLUSION

.             It is therefore ORDERED that Defendant’s Request for Compassionate Release/ Sentence

     Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(A) “Extraordinary and Compelling Reasons”

     (Dkt. #1352) is DENIED.

              IT IS SO ORDERED.
              SIGNED this 19th day of October, 2021.




                                                   ___________________________________
                                                   AMOS L. MAZZANT
                                                   UNITED STATES DISTRICT JUDGE




     9
       In the alternative, the Court is also unable to order home confinement. The BOP has exclusive authority to determine
     where a prisoner is housed; thus, the Court is without authority to order home confinement. 18 U.S.C. § 3621(b); see
     also United States v. Miller, No. 2:17-CR-015-D (02), 2020 WL 2514887, at *1 (N.D. Tex. May 15, 2020) (“[N]either
     the CARES Act nor the First Step Act authorizes the court to release an inmate to home confinement.”).

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